EXHIBIT 7
           FBI Subject Christopher Hasson’s Plan to “Kill Almost Every
Last Person on Earth” Aligned with His Internet Activity and Purchases
(U) “Biological Attacks”




 Date      Time (UTC)      Activity
 1/24/2018 1:28:22 AM      Searched for ricin
 1/24/2018 1:28:57 AM      Visited Everything you need to know about ricin poison | Popular
                           Science
 1/24/2018 1:34:31 AM      Visited A Vermont Woman Tested Ricin Poison on Wake Robin
                           Residents ...
 1/7/2019   5:44:58 PM     Searched for biological weapon
 1/7/2019   5:45:53 PM     Visited The world's most dangerous bioweapons - Army Technology
 1/7/2019   5:48:17 PM     Searched for homemade biological weapon
 1/7/2019   5:48:55 PM     Visited http://www.askaprepper.com/common-biological-weapons-
                           antidotes/

(U) “Bombing/Sniper Campaign”




 Date         Activity
 6/2/2017     Sent email from                       to USCG email with link to a forum on
              Energetic Materials and discussions on the manufacturing of explosives.
6/7/2017      Sent bomb making documents from                       to USCG account ("The
              Terrorist's Handbook," "The Anarchist Cookbook Version 2000," "U.S. Army
              Improvised Munitions Handbook (TM 31-210)," "Emailing Anon-How to make
              Semtex," "Home Workshop Explosives by Uncle Fester."
6/27/2017   Accessed 16 URLs related to firearms/tactical gear
6/27/2017   Accessed over 25 URLs related to sniper gear and body armor
8/15/2017   Searched for "improvised explosive device"
9/7/2017    Browsed/attempted to browse approximately 150 URLs related to IEDs, shaped
            charges, EFPs, cluster munitions, and other explosive warheads
9/9/2017    Searched for "efp" and accessed over 100 URLs related to explosively formed
            penetrators and shaped charges. Also accessed over 90 URLs to include
            unconventional shaped charges and discussion threads pertaining to materials for
            making shaped charges
10/25/2017 Searched "can you machine firearms with just a drill press"
11/27/2017- Searched 308 vepr for long range killing, shtf loadout, us army rifle scope, max
1/2/2018    distance for 308 with 16 in barrel, us sniper rifle set up, snipers hide, basic sniper
            setup, good 600 yard scope 308 rifle, longest kill with acog, long range shooting
            forum, sniper rifle gun stock multicam painting, 7mm rem mag effective range
1/8/2018      Accessed over 200 URLs related to rifles, scopes, night vision, and sniper related
              data
1/9/2018      Accessed nearly 200 URLs related to precision shooting and sniper tactics
1/9/2018      Sent an email from USCG email to                          with the link
              http://www.sniperflashcards.com/tactics.php (USCG comment: Webpage provides
              instruction on how to defend a city from invasion using civilian snipers as an
              auxiliary to the regular army.")
1/11/2018     Searched sniper data book pdf
1/18/2018     Searched for "killing school," "killing school: inside the world's deadliest sniper
              programs," "terrorist sniper," "major sniper attacks usa," "sniper rifle break in;"
              accessed dozens of URLs containing sniper-related information
1/22/2018     Accessed over 100 URLs related to sniper content, precision shooting, rifle
              parts/accessories, searched "best yardage for 308 zero," "how to use trig to calculate
              distance," "trigonometry distance formula," "best on barrel life high power rifle"
1/23/2018     Accessed sniper-related book titles at www.amazon.com
1/23/2018     Accessed sniper-related URLs and searched "benchrest rail gun"
1/23/2018     Searched "homemade EFP"
1/23/2018     Searched "efp" and accessed related pages
1/23/2018     Searched "cheap benchrest rail gun set up," "pan tilt gun platform," "pan tilt camera
              platform," "motorized pan tilt camera mount," "long range hd surveillance camera,"
              "filming through rifle scope"
1/30/2018     Sent email from USCG email to                            with a spreadsheet attachment
              produced by www.trijicon.com containing detailed ballistics reports and conversions
              for a .308 rifle
1/31/2018   Accessed over 100 URLS related to gun parts, kits, and sniper-related content.
            Searched "civilian snipers."
2/1/2018    Accessed dozens of URLs related to rifles, rifle accessories, and sniper content.
2/13/2018   Accessed hundreds of URLs to include sniper employment, searched "using a drill
            press for milling," "mill drill set up harbor freight," "sniper log book," "required gear
            for sniper," and "best sniper laser rangefinder"
2/14/2018   Accessed URLs related to snipers
2/16/2018   Searched "308 alca," "super accurate 308 ammo," "most accurate bullets for 308,"
            "steel tip bullets for 308"
2/20/2018   Searched "308 subsonic reload data," "most accurate 308 semi auto rifle," "european
            sniper rifles," and "are frangible bullets untraceable?"; sent an email to
                                    containing a link to a detailed online calculator for calculating
            a trajectory from bullet, velocity, firearm, and atmospheric parameters
2/22/2018   Searched for "one man sniper loadout" and "sniper data card with common size of
            things" and sent an email to                        with a link for
            https://loadoutroom.com/18967/ranger-loadout-developing-mental-toughness/ and
            emailed the ballistics data spreadsheet originally emailed 30 January 2018 which
            was updated with two additional worksheets containing advanced shooting
            information to include common data size of things information
2/23/2018   Searched "sniper stock 308 dpms" and "dpms sniper upper" and accessed dozens of
            URLs related to rifles and scopes. Emailed                             with the ballistics
            data spreadsheet emailed on 22 February 2018.
2/26/2018   Searched for "are rifle scopes illegal," "are rifle scopes illegal in europe," "long ange
            rifle range near me"
3/5/2018    Emailed                         with a five-page word document titled "Mathematics
            for Precision Shooters" which discussed formulas, measurements, math shortcuts,
            and rules-of-thumb that were of value to precision shooters
3/8/2018    Searched "federal laws for storing explosives," and "blasting companies"
3/12/2018   Accessed Wikipedia page for Explosively Formed Penetrator
3/19/2018   Accessed dozens of URLs related to long distance shooting, rifles, scopes, and
            tactical gear
12/7/2018   Searched "most effective ied" and accessed related pages, searched "how to make
            explosively formed penetrator" and accessed related pages
1/3/2019    On the Wikipedia page for Smokeless Powder, specifically Nitroglycerine and
            guncotton, opened a document titled "HMTD" from his personal folder
1/23/2019   Viewed discussion threads on www.sciencemadness.org for: Unconventional Shaped
            Charges, Is there a stable organic peroxide explosive?, Pressing a
            nitroglycerine/nitrocellulose mixture, PETN-based Cast Explosives
Date        Time (UTC)    Activity
2/5/2017    2:27:32 PM    Searched for best bump fire stock
2/5/2017    2:27:36 PM    Visited https://thearmsguide.com/7667/which-bump-fire-
                          stock-is-for-you/
2/6/2017    10:43:40 PM   Searched for ar trigger
2/6/2017    10:43:49 PM   Visited http://www.redbarnarmory.com/drop-in-ar-15-
                          triggers-kits-assembly-s/1820.htm
2/12/2017   12:00:57 PM   Searched for ar forend large enough to accept suppressor
2/12/2017   12:01:02 PM   Visited Handguards large enough to cover a suppressor -
                          SilencerTalk
2/21/2017   11:53:40 PM   Searched for Ar handguards that fit over silencer
2/21/2017   11:53:50 PM   Visited Handguards large enough to cover a suppressor -
                          SilencerTalk
2/22/2017   11:22:09 PM   Searched for Ar handguards that fit over silencer
2/22/2017   11:26:59 PM   Visited Handguards large enough to cover a suppressor -
                          SilencerTalk
2/22/2017   11:28:09 PM   Searched for integrally suppressed 300 blackout ar
2/22/2017   11:30:38 PM   Searched for integrally suppressed 300 blackout ar
2/22/2017   11:30:48 PM   Visited DANIEL DEFENSE ISR 300 BLACK OUT -
                          Integrally Suppressed ...
2/22/2017   11:38:32 PM   Searched for integrally suppressed 300 blackout ar
2/22/2017   11:38:40 PM   Searched for integrally suppressed 300 blackout ar for sale
2/23/2017   12:09:25 AM   Searched for usmc rifle course
2/23/2017   12:09:36 AM   Visited United States Marines conduct rifle marksmanship
                          training - YouTube
3/2/2017    12:28:32 AM   Searched for combat ready ar
3/12/2017   1:13:03 AM    Searched for combat ready ar 15
3/12/2017   1:13:28 AM    Visited "Best" combat rifle recommendations | Peak
                          Prosperity
3/12/2017   1:14:34 AM    Visited Building Your SHTF Combat Overwatch Rifle - Alt-
                          Market.com
3/18/2017   11:21:05 PM   Searched for Will ar function with no disconnector
3/18/2017   11:21:16 PM   Visited AR 15 is Doubling... - The Firing Line Forums
3/18/2017   11:28:03 PM   Visited AR-15 missing disconnector spring = full auto?!!! -
                          Calguns.net
3/18/2017   11:36:27 PM   Searched for Will ar function with no disconnector
3/18/2017   11:36:42 PM   Visited fullauto - NotPurfect.com
5/23/2017   10:57:28 PM   Searched for shock tube
5/23/2017   11:01:24 PM   Visited Shock tube - Wikipedia
5/23/2017   11:01:48 PM   Visited SHOCK TUBES - Thermopedia
5/23/2017   11:02:23 PM   Visited Shock tube detonator - Wikipedia
5/23/2017   11:11:50 PM   Visited Materials for fertilizer bombs not regulated |
                          Homeland Security ...
5/23/2017   11:16:11 PM   Searched for bomb mcveigh used
5/23/2017   11:16:37 PM   Visited http://newsok.com/article/5409414
5/23/2017   11:17:50 PM   Searched for bomb mcveigh used
5/23/2017   11:18:38 PM   Visited http://nypost.com/2015/04/17/mcveigh-regarded-
                          bombing-that-killed-168-people-a-failure/
5/27/2017   6:05:47 PM    Searched for Home made incedaries
5/27/2017   6:05:58 PM    Visited http://news.softpedia.com/news/How-to-Build-an-
                          Incendiary-Bomb-Based-More-Powerful-Than-Napalm-
                          56400.shtml
5/27/2017   6:08:02 PM    Visited https://www.pinterest.com/pin/67483694391888332/
5/27/2017   6:08:41 PM    Visited http://www.adelaidenow.com.au/news/south-
                          australia/14-trucks-extensively-damaged-by-homemade-
                          incendiary-devices-at-para-hills-west-depot/news-
                          story/5012c83e636ff546d8880af095e78830
5/27/2017   6:14:48 PM    Searched for Home made incedaries
5/27/2017   6:14:53 PM    Visited Homemade Incendiary Grenade - YouTube
5/27/2017   6:18:12 PM    Searched for Home made incedaries
5/27/2017   6:18:25 PM    Visited https://www.youtube.com/watch?v=-gpM2lGMglg
5/27/2017   6:19:41 PM    Visited Homemade Incendiary Grenade - YouTube
5/27/2017   7:03:58 PM    Searched for homemade incedaries
5/27/2017   7:04:05 PM    Searched for homemade incedaries
5/29/2017   1:46:41 PM    Searched for hmtd recipe
5/29/2017   1:46:47 PM    Visited HMTD - Budget Pyro
5/29/2017   1:47:53 PM    Searched for hmtd recipe
5/29/2017   1:49:39 PM    Visited https://www.youtube.com/watch?v=6pkqWuMYezY
5/29/2017   1:52:41 PM    Searched for how to make hmtd
5/29/2017   1:52:50 PM    Visited https://vimeo.com/114722530
5/29/2017   1:58:35 PM    Searched for how to make hmtd
5/29/2017   1:58:59 PM    Searched for how to make hmtd
5/29/2017   2:10:46 PM    Searched for Better than hmtd
5/29/2017   2:11:01 PM    Visited Sciencemadness Discussion Board - Primary
                          Explosive questions ...
5/29/2017   2:39:49 PM    Searched for plastic explosive c4
5/29/2017   2:39:57 PM    Visited C-4 (explosive) - Wikipedia
5/29/2017   2:43:57 PM    Searched for Homemade c4
5/29/2017   2:46:59 PM    Visited How to make c4 | Page 1 | Naked Science Forum
5/29/2017   2:49:17 PM    Searched for Homemade rdx
5/29/2017   2:49:25 PM    Visited https://uscrow.org/2014/09/30/make-c4-rdx-
                          explosives/
5/29/2017   2:52:44 PM    Searched for nitric acid
5/29/2017   2:53:01 PM    Visited https://en.m.wikipedia.org/wiki/Nitric_acid
6/6/2017    10:08:33 PM   Visited SECURALL® - Explosive Storage, Explosive
                          Storage Magazines ...
6/6/2017    10:10:15 PM   Visited Ammunition & Explosive Magazines | WBDG -
                          Whole Building ...
6/10/2017   5:17:57 PM    Searched for integrally suppressed 300 blackout ar
6/10/2017   5:33:27 PM    Searched for 300 black ar
6/10/2017   5:33:31 PM    Searched for 300 blackout ar 15 for sale
6/10/2017   5:33:43 PM    Searched for 300 blackout ar suppressed
6/10/2017   5:33:45 PM    Searched for 300 blackout ar suppressed
6/10/2017   5:33:53 PM    Searched for 300 blackout ar suppressed pistol
6/10/2017   5:34:04 PM    Visited 300 blackout pistol with supressor - YouTube
6/10/2017   6:25:17 PM    Visited Handguards large enough to cover a suppressor -
                          SilencerTalk
7/18/2017   9:24:12 PM    Searched for bump fire stock
7/18/2017   9:25:07 PM    Searched for ar 10 slidefire
7/18/2017   9:25:12 PM    Searched for ar 10 slide fire
7/18/2017   9:25:25 PM    Visited http://www.slidefire.com/products/308-platform
7/18/2017   9:25:36 PM    Visited https://www.slidefire.com/sbs-308
7/18/2017   9:26:08 PM    Searched for ar 10 drum mag
7/18/2017   9:26:14 PM    Visited http://www.brownells.com/magazines/rifle-
                          magazines/magazines/ar-308-50rd-x-25-drum-magazine-308-
                          winchester-prod55436.aspx
7/18/2017   9:26:48 PM    Searched for ar 10 belt fed upper
7/18/2017   9:27:17 PM    Visited AR-10 belt fed | GunLab (KnownHost)
7/18/2017   9:27:51 PM    Visited Valkyrie Armament Introduces Belt-Fed AR-15 Rifle
                          - AmmoLand.com
7/18/2017   9:32:33 PM    Visited http://www.beltfedar.com/belt_feed_conversions/
7/18/2017   9:34:44 PM    Searched for ar 10 belt fed upper freedom ordnance
7/18/2017   9:34:48 PM    Visited FM-9 9mm belt fed ar15/m16 upper 16" Elite model -
                          Freedom ...
7/18/2017   9:36:36 PM    Visited https://www.ar15.com/forums/t_3_121/700781_Freed
                          om-Ordnance--308-belt-fed-upper.html
7/18/2017   9:38:15 PM    Searched for ar 10 belt fed upper
7/18/2017   9:38:45 PM    Visited http://forums.gunboards.com/showthread.php?111645
                          -the-original-belt-fed-AR10
7/18/2017   11:05:22 PM   Searched for ar15 belt fed upper with slide fire
7/18/2017   11:05:29 PM   Visited https://www.youtube.com/watch?v=CD2LDM1u7v0
7/18/2017   11:06:47 PM   Searched for ar15 belt fed upper with slide fire
7/18/2017   11:06:51 PM   Visited Slide Fire Belt Fed Rifle - YouTube
7/18/2017   11:07:55 PM   Visited Ares Defense Shrike and Slidefire stock - YouTube
7/19/2017   9:26:17 AM    Visited Ares Defense MCR Belt Fed AR - YouTube
7/19/2017   9:33:15 AM    Searched for shrike upper
7/19/2017   10:16:55 PM   Visited http://www.brownells.com/rifle-parts/receiver-
                          parts/receivers/upper-receivers/mcr-belt-fed-upper-receiver-
                          full-auto-prod86794.aspx
7/19/2017   10:20:02 PM   Searched for ares shrike for sale
7/19/2017   10:20:20 PM   Visited For Sale: Ares Gen 4 Shrike upper with accessories
                          $4750 | Facebook
7/19/2017   10:24:09 PM   Visited D&D Guns - ARES Parts
7/19/2017   10:25:05 PM   Visited http://m14forum.com/m16-ar15/155955-anyone-have-
                          ares-defense-belt-fed-upper.html
7/19/2017   10:32:40 PM   Visited http://rangpencil.net/?qkf=ares-shrike-upper-receiver-
                          for-sale
7/19/2017   10:33:01 PM   Visited WTS: Ares Defense MCR Shrike Belt fed Phosphate
                          feed tray upper ...
7/19/2017   10:33:40 PM   Searched for ares shrike for sale gunbroker
7/19/2017   10:33:50 PM   Visited http://www.gunbroker.com/All/BI.aspx?Keywords=sh
                          rike
7/20/2017   5:19:05 PM    Searched for m4 with suppressor
7/20/2017   5:19:16 PM    Searched for m4 with suppressor normal ammo
7/20/2017   5:19:19 PM    Searched for m4 with suppressor normal ammo
7/20/2017   5:19:36 PM    Visited Supersonic and subsonic ammo through a suppressor -
                          YouTube
7/20/2017   5:20:01 PM    Visited AR 15 Shooting Suppressed vs Un-Suppressed (A 2
                          VETS ARMS ...
7/20/2017   10:38:21 PM   Searched for ar gunfighter grips
7/20/2017   10:38:25 PM   Visited http://www.bravocompanyusa.com/BCMGUNFIGHT
                          ER-Pistol-Grips-s/160.htm
7/20/2017   10:48:23 PM   Searched for binary trigger
7/20/2017   10:48:36 PM   Searched for binary trigger
7/20/2017   10:48:55 PM   Searched for binary trigger
7/20/2017   10:49:28 PM   Searched for binary trigger
7/20/2017   10:49:49 PM   Searched for binary trigger
7/20/2017   10:53:28 PM   Searched for best binary trigger
7/20/2017   10:53:49 PM   Searched for tac con 3mr
7/20/2017   10:53:53 PM   Visited Tac-Con - 3MR AR-10 & AR-15 Trigger | Raptor
                          AK-47 Trigger
7/20/2017   10:55:38 PM   Visited Tac-Con™ 3MR Trigger System - YouTube
7/20/2017   10:57:42 PM   Visited Tac-Con USA Trigger Systems for the AR-15, AR-
                          10, and AK-47
7/20/2017   11:02:41 PM   Visited https://www.ar15.com/forums/t_1_5/2001632_Binary
                          -triggers--which-is-best-.html
7/20/2017   11:07:37 PM   Searched for tac con 3mr review
7/20/2017   11:07:41 PM   Visited http://www.thefirearmblog.com/blog/2014/07/18/gear
                          -review-tac-con-3mr-trigger/
7/20/2017   11:12:49 PM   Visited TAC-CON 3MR TRIGGER Review | The Loadout
                          Room
7/20/2017   11:13:07 PM   Visited https://www.ar15.com/forums/t_3_118/638164_TacC
                          on_3MR_Trigger_Review.html
7/20/2017   11:21:54 PM   Searched for best binary trigger
7/20/2017   11:22:06 PM   Visited http://www.opticsplanet.com/franklin-armory-5550-
                          binary-trigger-gen-3-22lr-9mm-metal.html
7/20/2017   11:55:31 PM   Searched for bumpfire on rpd
7/20/2017   11:55:35 PM   Visited https://www.ar15.com/forums/t_6_2/412813_Slide_Fi
                          re_Stock_on_an_RPD___.html
7/20/2017   11:56:33 PM   Visited https://www.ar15.com/mobile/topic.html?b=4&f=97
                          &t=153146
7/20/2017   11:57:16 PM   Visited slide fire stock for RPD? - The AK Files Forums
7/20/2017   11:58:45 PM   Searched for bumpfire on rpd
7/20/2017   11:59:13 PM   Visited http://www.thefirearmblog.com/blog/2014/01/23/slide
                          -fires-concept-bump-sled/
7/21/2017   12:00:22 AM   Visited New "Bumpski" bumpfire stock for the AK47/AK74
                          & Saiga12 ...
7/22/2017   11:27:26 AM   Visited https://www.franklinarmory.com/collections/binarytri
                          ggers
7/22/2017   7:41:23 PM    Visited Adams Arms Low Profile XLP Concealable Piston
                          Kit AR15 AR-15 ...
7/22/2017   9:52:30 PM    Searched for ar15 speed loader
7/23/2017   12:51:52 AM   Searched for flash hider for suppressor
7/23/2017   12:52:09 AM   Visited Flash Hiders - Accessories - Silencer Shop
7/23/2017   8:45:42 PM    Searched for quietest ar suppressor
7/23/2017   8:45:55 PM    Visited Best/Quietest AR-15 Suppressor, Any price. -
                          SilencerTalk
7/23/2017   8:56:17 PM    Searched for aac suppressors
7/24/2017   5:38:40 PM    Searched for easier to suppress 5.56 or 308
7/24/2017   5:38:46 PM    Searched for easier to suppress 5.56 or 308
7/24/2017   5:38:49 PM    Visited https://forum.snipershide.com/forum/sniper%C2%92s
                          -hide%C2%AE-armory-supply/sniper-s-hide-
                          suppressors/109444-pros-cons-suppressed-308-vs-5-56-223
7/24/2017   5:48:03 PM    Visited http://www.ncsilencer.com/multi-caliber-
                          silencers.html
7/24/2017   5:58:24 PM    Searched for can you use 308 silencer
7/24/2017   5:58:32 PM    Searched for can you use 308 silencer on 5.56
7/24/2017   5:58:40 PM    Visited Using a .308 suppressor on a .223 - SilencerTalk
7/24/2017   10:40:50 PM   Searched for solvent trap
7/24/2017   10:41:45 PM   Visited http://www.preppersdiscount.com/solvent-trap-
                          kits.html
7/24/2017   10:45:32 PM   Visited Solvent Traps & Accessories
7/24/2017   10:57:35 PM   Visited Solvent Trap
7/24/2017   10:57:57 PM   Searched for solvent trap
7/24/2017   11:17:02 PM   Searched for solvent trap
7/24/2017   11:36:56 PM   Visited Solvent Trap Adapter Muzzle Brake/Flash Hider for
                          3/4 NPT (Napa ...
7/24/2017   11:37:57 PM   Visited https://www.crosshaircustoms.com/product/c-cell-
                          solvent-trap-tube-anodized-aluminum/
7/24/2017   11:45:02 PM   Searched for solvent trap
7/24/2017   11:50:49 PM   Searched for solvent trap
7/24/2017   11:51:13 PM   Visited http://www.preppersdiscount.com/solvent-trap-
                          kits.html
7/25/2017   9:31:05 AM    Searched for thread muzzle psa 300 blackout
7/25/2017   9:31:09 AM    Visited http://palmettostatearmory.com/ar-15-05/upper-
                          parts/muzzle-accessories.html
7/25/2017   9:38:55 AM    Searched for 300 blackout muzzle thread
7/25/2017   9:39:03 AM    Visited Thread Pitch - 300BlkTalk
7/25/2017   9:40:12 AM    Visited silencer thread adapters
7/25/2017   9:41:06 AM    Visited Compensators and flash hiders question - 300BlkTalk
7/25/2017   9:16:00 AM    Searched for solvent trap
7/25/2017   9:27:56 PM    Visited https://www.crosshaircustoms.com/product/d-cell-
                          solvent-trap-kit-chc/
7/25/2017   9:33:08 PM    Searched for solvent trap
7/25/2017   9:34:44 PM    Searched for solvent trap
7/25/2017   9:34:56 PM    Visited http://kmtactical.net/22lr-solvent-trap-1-2x28.html
7/30/2017   1:33:02 PM    Searched for solvent trap
7/30/2017   1:33:09 PM    Visited Solvent Traps & Accessories
7/30/2017   1:34:13 PM    Visited https://www.crosshaircustoms.com/product/d-cell-
                          solvent-trap-kit-chc/
7/30/2017   1:46:19 PM    Visited for your review my 5.56 / 223 silencer drawings -
                          SilencerTalk
7/30/2017   6:51:41 PM    Searched for solvent trap
7/30/2017   6:54:52 PM    Visited https://www.crosshaircustoms.com/product/d-cell-
                          solvent-trap-kit-chc/
7/30/2017   6:57:59 PM    Searched for solvent trap
7/30/2017   7:14:08 PM    Visited http://kmtactical.net/22lr-solvent-trap-1-2x28.html
7/30/2017   7:25:04 PM    Searched for how large of blast chamber for 5.56
7/30/2017   7:25:08 PM    Visited blast chamber length - SilencerTalk
7/30/2017   7:30:06 PM    Visited Subsonic Ammo for Silencers - Suppressor
                          Ammunition - Cheaper ...
7/30/2017   7:32:27 PM    Visited http://ebrammo.com/556-x-45mm-nato-ultra-stealth-
                          match-subsonic
7/30/2017   7:38:33 PM    Visited Atomic Ammo 223 Remington Subsonic 77 Grain
                          Hollow Point Boat ...
7/30/2017   7:40:18 PM    Visited Subsonic 5.56 ammo | The High Road
7/30/2017   7:52:59 PM    Searched for subsonic 5.56 ammo
7/30/2017   7:57:37 PM    Visited https://www.ar15.com/forums/t_6_42/426745_Guys_
                          __I_finally_figured_out_how_to_make_cycling_subsonic_22
                          3_5_56mm_____now_
8/2/2017    9:08:32 AM    Searched for solvent trap tubes
8/2/2017    9:13:02 AM    Visited https://redbeardtacticalllc.com/products/12-d-cell-
                          solvent-trap-tube
8/2/2017    9:26:39 AM    Searched for solvent trap
8/2/2017    9:26:58 AM    Visited Solvent Traps & Accessories
8/2/2017    9:27:26 AM    Visited https://www.crosshaircustoms.com/product/titanium-
                          d-cell-solvent-trap-tube/
8/2/2017    9:00:08 PM    Searched for cross section of 5.56 suppressor
8/2/2017    9:39:31 PM    Searched for chinese suppressor
8/2/2017    9:39:39 PM    Searched for chinese suppressor parts
8/2/2017    9:39:55 PM    Visited http://www.made-in-china.com/products-search/hot-
                          china-products/Silencer_Parts.html
8/2/2017    9:40:17 PM    Visited http://www.dhgate.com/wholesale/silencer.html
8/2/2017    9:42:28 PM    Visited gun silencer - Alibaba
8/2/2017    9:44:05 PM    Visited http://www.dx.com/c/sports-outdoors-1699/airsoft-
                          guns-supplies-837/other-accessories-877
8/2/2017    9:45:39 PM    Visited Wholesale Silencer - Full Spectrum Cellphone
                          Jammer (CDMA + ...
8/2/2017    9:48:42 PM    Visited Buy gun silencer and get free shipping on
                          AliExpress.com
8/2/2017    9:51:20 PM    Searched for solvent traps
8/2/2017    10:04:42 PM   Visited https://redbeardtacticalllc.com/collections/life-tubes
8/2/2017    10:06:34 PM   Visited https://www.roninpro.com/
8/2/2017    10:07:18 PM   Searched for solvent traps
8/2/2017    10:07:44 PM   Visited http://kmtactical.net/accessories/solvent-traps-
                          adapters.html
8/2/2017    10:13:34 PM   Visited https://solvent-traps.com/
8/2/2017    10:13:57 PM   Visited Solvent Trap: Amazon.com
8/2/2017    10:14:15 PM   Searched for solvent traps
8/2/2017    10:15:49 PM   Visited Solvent Traps & Accessories
8/2/2017    10:17:49 PM   Visited https://www.crosshaircustoms.com/product/d-cell-
                          solvent-trap-kit-chc/
8/4/2017    9:06:41 AM    Searched for 5.56 suppressor
8/4/2017    9:07:32 AM    Visited https://www.gunsamerica.com/blog/the-best-5-56-
                          silencer-for-the-money-griffin-armaments-spartan-3/
8/4/2017    9:12:25 AM    Visited Testing 5.56mm Suppressors - YouTube
8/4/2017    9:36:48 AM    Searched for 5.56 suppressor with becks subsonic ammo
8/4/2017    9:41:53 AM    Searched for becks subsonic ammo
8/4/2017    9:41:56 AM    Visited http://beckammunition.com/ammunition/subsonic-
                          ammo
8/4/2017    9:41:20 PM    Searched for ar handguards for integral suppressors
8/4/2017    9:43:09 PM    Visited Handguards large enough to cover a suppressor -
                          SilencerTalk
8/4/2017    10:00:16 PM   Searched for seekins handguards
8/4/2017    10:00:21 PM   Visited http://www.seekinsprecision.com/parts-and-
                          accessories/handguards.html
8/5/2017    12:03:00 AM   Visited JMPF Solvent trap Dry Storage kit 1.370" Stainless
                          Steel Storage Cups
8/5/2017    8:39:49 PM    Visited http://www.personaldefenseworld.com/2014/10/top-
                          nine-9mm-1911-guns/
8/5/2017    8:41:30 PM    Visited http://armscor.com/firearms/tac-series/tac-ultra-fs-hc-
                          9mm
8/6/2017    11:40:34 AM   Searched for silencer parts
8/6/2017    11:42:53 AM   Visited Silencer Parts and Tools - Firearms Parts and
                          Accessories - Shop by ...
8/6/2017    11:43:55 AM   Visited https://www.silencerhq.com/Silencer-Parts-
                          s/1858.htm
8/6/2017    11:46:28 AM   Visited http://www.tacticalinc.com/replacement-parts-c-
                          21_757.html
8/6/2017    11:47:43 AM   Visited Gun Silencer Parts - Modern Firearm Silencers
8/6/2017    11:48:42 AM   Searched for silencer parts
8/6/2017    11:49:01 AM   Searched for silencer parts spacer
8/6/2017    11:49:22 AM   Visited Maglite Suppressor - Second Amendment Check
8/6/2017    11:49:52 AM   Visited https://www.scooterwest.com/item_details/Spacer-
                          for-Silencer-Protection-(6-Req-d)/5175?clear_cat=true
8/13/2017   12:51:06 AM   Searched for 300 blackout subsonic max effective range
8/13/2017   12:51:36 AM   Visited https://www.ar15.com/forums/t_3_121/655247_What
                          _is_the_practical_effective_range_of__300_BLK_subsonic_.
                          html
8/13/2017    1:19:59 AM    Visited Max Effective Range of 300 AAC Blackout -
                           300BlkTalk
8/13/2017    1:22:16 AM    Visited Please stop hunting with 220gr 300 BLK subsonic |
                           The High Road
11/22/2017   12:57:31 AM   Searched for shotgun shell holder 870 that doesn't interfere
                           with pump action
11/22/2017   1:00:46 AM    Searched for shotgun shell holder 870 that doesn't interfere
                           with pump action
11/22/2017   1:03:56 AM    Searched for shotgun shell holder 870 that doesn't interfere
                           with pump action
11/22/2017   1:03:59 AM    Visited https://www.ar15.com/forums/t_6_1/307441_Setting-
                           up-the-Fighting-Shotgun.html
11/22/2017   10:28:02 PM   Searched for 930 shotgun
11/22/2017   10:28:06 PM   Visited http://www.mossberg.com/category/series/930/
11/22/2017   10:33:06 PM   Searched for 930 shotgun
11/22/2017   10:33:15 PM   Searched for 930 tactical shotguns for sale
11/26/2017   8:50:10 PM    Searched for snipershide forum
11/26/2017   10:15:37 PM   Searched for benelli m4 for sale
11/26/2017   10:15:50 PM   Visited http://www.cabelas.com/product/Benelli-M-Tactical-
                           Semiautomatic-Shotguns/1755907.uts
11/26/2017   10:16:35 PM   Searched for benelli m4 with collapsible stock for sale
11/26/2017   10:16:40 PM   Visited http://www.gunbroker.com/Benelli-
                           M4/Browse.aspx?Keywords=Benelli+M4
11/26/2017   10:24:23 PM   Visited http://www.rem870.com/2016/12/27/review-of-the-4-
                           pistol-grips-only-for-the-remington-870-shotgun/
11/26/2017   10:26:32 PM   Searched for remington 870 folding stock
12/3/2017    8:53:48 PM    Searched for 308 scopes bdc
12/3/2017    8:53:59 PM    Visited The 4 Best .308 BDC Scopes – Reviews 2019
12/3/2017    8:54:23 PM    Visited http://www.nikonsportoptics.com/en/nikon-
                           products/product-archive/riflescopes/m-308-4-16x42-bdc-
                           800.html
12/3/2017    8:54:32 PM    Visited http://www.vortexoptics.com/product/vortex-viper-6-
                           5-20x50-pa-riflescope-dead-hold-bdc-reticle
12/3/2017    8:55:19 PM    Searched for 308 scopes bdc
12/3/2017    8:55:29 PM    Visited http://www.primaryarms.com/primary-arms-4-
                           14x44mm-riflescope-acss-hud-dmr-308-223-reticle-pa4-
                           14xffp308
12/3/2017    10:17:17 PM   Searched for what magpul stock for 308 dpms
12/3/2017    10:17:22 PM   Visited http://www.primaryarms.com/MCategories+AR-308-
                           Stocks
12/3/2017    10:49:36 PM   Searched for dpms 308 stock removal
12/3/2017    10:49:44 PM   Visited DPMS = Ugliest Adjustable Stock EVER! - YouTube
12/3/2017    10:51:18 PM   Searched for dpms 308 stock
12/3/2017    10:52:09 PM   Searched for dpms 308 stock mil spec or commercial
12/3/2017    11:32:11 PM   Searched for lr-308 dpms
12/3/2017    11:32:29 PM   Searched for lr-308 dpms handguards
12/4/2017    12:04:38 AM   Visited Removing Rail Gas Block on DPMS Complete -
                           YouTube
12/4/2017    12:08:55 AM   Visited DPMS LR-308 freefloat handguards...options? -
                           AR15.COM
12/4/2017    12:08:55 AM   Visited DPMS LR-308 freefloat handguards...options? -
                           AR15.COM
12/4/2017    10:11:00 AM   Visited Dpms Oracle 12.6" free float quad rail - YouTube
12/4/2017    10:12:11 AM   Visited Removing Rail Gas Block on DPMS help needed -
                           YouTube
12/4/2017    10:13:31 AM   Visited How To Shave Your AR-15/AR-10 Front Sight To A
                           Low Profile Gas ...
12/4/2017    10:15:28 AM   Visited LR-308 Battle Rifle Build - JP & DPMS - YouTube
12/4/2017    10:17:54 AM   Visited https://www.magpul.com/products/firearms-
                           accessories/buttstocks/ubr-2-0-collapsible-stock
12/4/2017    10:19:07 AM   Visited Magpul UBR GEN2 Stock 8-Position Collapsible
                           AR-15 LR-308 ...
12/4/2017    10:19:08 AM   Visited Magpul UBR GEN2 Stock 8-Position Collapsible
                           AR-15 LR-308 ...
12/8/2017    11:18:17 PM   Searched for 308 ap
12/8/2017    11:18:22 PM   Searched for .308 nato armor piercing bullets
12/8/2017    11:18:46 PM   Visited http://www.emacstacticalshop.com/rare-factory-fn-
                           308-armor-piercing-rounds-7-62x51-ap-black-tip/
12/8/2017    11:19:46 PM   Visited http://www.thefirearmblog.com/blog/2016/07/23/taki
                           ng-a-look-inside-the-armys-devastating-new-m80a1-7-62mm-
                           round/
12/8/2017    11:24:04 PM   Searched for .308 nato armor piercing bullets
12/9/2017    1:50:47 PM    Searched for 338 lapua
12/9/2017    7:08:05 PM    Searched for best sniper caliber
12/9/2017    7:08:28 PM    Visited Top Five Long Range Cartridges - The Best of the
                           Best
12/9/2017    7:12:41 PM    Visited http://precisionrifleblog.com/2015/01/17/american-
                           sniper-chris-kyle-rifles/
12/9/2017    7:26:17 PM    Visited http://www.gameandfishmag.com/guns-shooting/10-
                           best-long-range-cartridges-ever-made/
12/9/2017    7:27:13 PM    Visited Sniping Ammo - Sniper Central
12/10/2017   2:10:48 PM    Searched for best out of box accuracy 308
12/10/2017   2:10:53 PM    Visited Most Accurate .308 under $1,000? | The High Road
12/10/2017   2:15:46 PM    Visited Tikka T3 TAC Bolt Action Sniper Rifle | Beretta
                           Defense Technologies
12/10/2017   2:21:43 PM    Visited FNH Special Police Rifle (SPR) A3G Precision Bolt
                           Rifle - Sniper ...
12/10/2017   2:27:26 PM    Searched for fn spr a3g
12/10/2017   2:27:33 PM    Visited https://www.gunsamerica.com/912664305/FN-SPR-
                           A3G-308-FBI-Rifle.htm
12/10/2017   2:29:18 PM    Visited The Sniper Rifle to Beat: FN SPR A3G in .308
                           Review - 1911Forum
12/10/2017   2:38:09 PM    Searched for best out of box sniper rifle
12/10/2017   2:44:36 PM    Visited Best Sniper & Precision Rifle for Beginners [2019] -
                           Pew Pew Tactical
12/10/2017   2:45:48 PM    Visited Ten Best Sniper Rifles - Survival Spot
12/10/2017   11:01:10 PM   Searched for what is little scope on front of sniper rifle
12/10/2017   11:01:15 PM   Visited Sniper equipment - Wikipedia
12/10/2017   11:02:37 PM   Searched for what is little scope on front of sniper rifles big
                           scope
12/10/2017   11:03:48 PM   Searched for usmc sniper rifle setup
12/10/2017   11:03:58 PM   Visited M40 rifle - Wikipedia
12/10/2017   11:04:42 PM   Visited Building a USMC M40A3: Cloning the Marine Corps
                           Sniper Rifle ...
12/10/2017   11:06:25 PM   Visited USMC M40A5 Build- Part 1: Gathering the Parts –
                           rifleshooter.com
12/10/2017   11:17:23 PM   Searched for pvs 22 for sale
12/10/2017   11:24:42 PM   Searched for 6.5 creedmoor
12/10/2017   11:25:00 PM   Visited http://www.springfield-armory.com/products/m1a-
                           loaded-6-5-creedmoor/
12/10/2017   11:26:00 PM   Visited https://aeroprecisionusa.com/65-
                           creedmoor.html?limit=all
12/10/2017   11:26:20 PM   Searched for 6.5 creedmoor ar lower
12/10/2017   11:26:30 PM   Visited http://palmettostatearmory.com/psa-gen2-pa65-6-5-
                           creedmoor-complete-moe-str-ept-lower-receiver-black-
                           516447011.html
12/10/2017   11:27:24 PM   Searched for most accurate out of the box bolt action rifle
12/10/2017   11:44:38 PM   Visited Ruger Precision Rifle vs Savage Stealth 10 BA -
                           YouTube
12/11/2017   12:24:55 AM   Searched for 6.5 creedmoor
12/11/2017   11:56:02 PM   Searched for tikka sniper rifle
12/11/2017   11:56:16 PM   Visited Tikka T3x Sniper Rifle Package - Sniper Central
12/12/2017   11:00:55 PM   Searched for custom bolt action rifle
12/12/2017   11:27:58 PM   Searched for custom bolt action rifle
12/13/2017   12:28:54 AM   Searched for custom bolt action rifle
12/13/2017   12:54:37 PM   Searched for bergara b14 hmr
12/13/2017   10:57:28 PM   Searched for will dpms gen 2 barrel fit gen 1
12/14/2017   12:38:05 AM   Searched for xm110 sass
12/14/2017   12:38:10 AM   Visited https://en.m.wikipedia.org/wiki/M110_Semi-
                           Automatic_Sniper_System
12/14/2017   12:43:06 AM   Searched for m110 sass optic
12/14/2017   11:54:52 PM   Visited DPMS gen 1 pattern complete uppers - Building a
                           .308AR - 308AR ...
12/16/2017   12:59:20 AM   Searched for remington 700 5r 308
12/16/2017   12:59:28 AM   Visited Model 700 5-R Stainless Threaded Gen 2 | Remington
12/16/2017   1:00:07 AM    Visited Remington 700 Milspec 5R - Sniper Central
12/19/2017   10:32:42 PM   Searched for first focal plane vs second
12/19/2017   10:33:02 PM   Visited http://rifleopticsworld.com/first-vs-second-focal-
                           plane-scope/
12/19/2017   10:46:51 PM   Searched for do snipers use first focal plane
12/19/2017   10:47:16 PM   Visited Should You Choose a Reticle Positioned in the First
                           or Second ...
12/19/2017   10:51:54 PM   Visited SFP vs FFP - Sniper Chat
12/22/2017   12:18:04 AM   Searched for howa hcr vs ruger precision rifle
12/22/2017   12:18:20 AM   Searched for 300 win mag precision rifle
12/22/2017   11:54:15 PM   Visited Sniper Central - The leader in independent
                           information about sniping.
12/23/2017   1:12:26 AM    Searched for rem 700 magpul
12/24/2017   2:58:46 PM    Searched for 338 lapua magnum rifle
12/24/2017   2:59:05 PM    Searched for 338 lapua magnum rifle
12/24/2017   3:00:02 PM    Visited Savage 110 BA Tactical Rifle in .338 Lapua Magnum
                           - YouTube
12/24/2017   3:31:27 PM    Searched for spotting scope with rangefinder
12/24/2017   3:35:37 PM    Visited Spotting Scope with Built in Rangefinder: Expert's
                           Top Picks and ...
12/24/2017   3:42:49 PM    Searched for tactical spotting scope
12/24/2017   10:26:44 PM   Searched for loan sniper loadout
12/24/2017   10:27:04 PM   Visited SF Snipers Dig Tyr Rigs | Military.com
12/24/2017   10:30:42 PM   Visited Sniper Basics For The SHTF Survivalist - SHTF Plan
12/24/2017   11:57:30 PM   Visited Sniper Basics For The SHTF Survivalist - SHTF Plan
12/25/2017   12:51:21 AM   Searched for loan sniper loadout
12/25/2017   12:55:55 AM   Searched for 300 win mag precision rifle
12/25/2017   12:56:00 AM   Visited .300 Winchester Magnum Rifles - Cheaper Than Dirt
12/25/2017   12:58:43 AM   Searched for 300 win mag precision rifle chassis
12/25/2017   1:07:23 AM    Searched for 300 win mag ammo
12/25/2017   1:07:39 AM    Visited 300 Winchester Magnum - Cheaper Than Dirt
12/25/2017   1:09:34 AM    Searched for marine sniper rifle 300 win mag
12/25/2017   1:09:53 AM    Visited M2010 Enhanced Sniper Rifle - Wikipedia
12/25/2017   2:32:35 AM    Searched for chassis rifle
12/25/2017   2:32:39 AM    Visited http://accurate-mag.com/chassis/
12/25/2017   2:36:43 AM   Searched for remington 700 300 win mag 5r barrel
12/25/2017   2:36:51 AM   Visited https://www.gunbroker.com/All/BI.aspx?Keywords=r
                          emington+700++5r+300+win+mag
12/25/2017   2:39:51 AM   Visited Remington 700 Stainless 5R Bolt Action Rifle .300
                          Win Mag 24 ...
12/25/2017   2:40:02 AM   Visited Remington 700 Stainless 5R Bolt Action Rifle .300
                          Win Mag 24 ...
12/25/2017   1:42:41 PM   Searched for 308 vs 6.5
12/25/2017   1:43:00 PM   Visited http://www.accuracy-tech.com/6-5-creedmoor-vs-
                          308-winchester/
12/25/2017   2:02:32 PM   Searched for dpms lr-308 accuracy review
12/25/2017   6:24:16 PM   Searched for 16 dpms 308 barrel long range
12/25/2017   6:24:25 PM   Visited Max effective range from 16 and 18 in barrel -
                          General Discussion ...
12/26/2017   1:33:38 AM   Searched for best 308 suppressor
12/26/2017   1:34:39 AM   Visited 7.62mm Rifle - SILENCERS - Silencer Shop
12/26/2017   1:54:20 AM   Searched for sniper backpack
12/26/2017   1:57:09 AM   Searched for basic sniper kit
12/26/2017   1:57:18 AM   Visited http://specopsystems.com/calendar/basic-sniper-
                          observer-course/
12/26/2017   2:00:12 AM   Visited https://sealgrinderpt.com/navy-seal-workout/navy-
                          seal-sniper-gear-list.html/
12/26/2017   2:01:13 AM   Searched for basic sniper kit
12/26/2017   2:01:25 AM   Visited http://badlandstactical.org/courses/basic-precision-
                          sniper-rifle-course/
12/26/2017   2:01:59 AM   Visited Mid West Tactical - Basic Marksman Observer
                          Course
12/26/2017   2:02:58 AM   Searched for basic sniper pack
12/26/2017   2:03:21 AM   Searched for basic sniper pack
12/26/2017   2:03:33 AM   Searched for basic sniper pack
12/26/2017   2:16:12 AM   Visited Sniper Central - The leader in independent
                          information about sniping.
12/26/2017   2:29:08 AM   Visited Academi - Courses - Basic Sniper - Moyock, NC
12/27/2017   2:36:16 AM   Searched for xm110
12/27/2017   2:41:10 AM   Visited M110 Semi-Automatic Sniper System - Wikipedia
12/27/2017   2:42:13 AM   Visited http://olive-
                          drab.com/od_other_firearms_rifle_m110.php
12/27/2017   2:42:36 AM   Visited Remington and the XM110 program - Sniper's Hide
12/27/2017   2:46:08 AM   Visited http://www.defenseindustrydaily.com/xm110-srss-
                          sniper-rifle-fielded-03268/
12/27/2017   1:42:29 PM   Searched for best 7.62 suppressor
12/27/2017   1:42:44 PM   Searched for best 7.62 suppressor for sniper
12/27/2017   1:44:51 PM    Visited .308 Sniper Rifle with AAC Sound Suppressor -
                           YouTube
12/27/2017   1:54:25 PM    Searched for best 7.62 suppressor for sniper
12/28/2017   1:18:01 AM    Searched for lr 308 16 inch upper any good for snipping tool
12/28/2017   1:18:07 AM    Visited DPMS Panther LR-308B - Sniper Central
12/28/2017   1:19:16 AM    Searched for lr 308 16 inch upper any good for snipping tool
12/28/2017   1:20:54 AM    Searched for dpms lr-308b review
12/28/2017   10:00:51 PM   Searched for best off the shelf precision rifle
12/28/2017   10:01:06 PM   Visited Best Out of the Box Rifle? - Atlanta Firearms
                           Training
12/28/2017   10:02:55 PM   Visited Building a Precision Sniper Rifle on a Budget - Part 1
12/28/2017   10:07:59 PM   Visited [Guide] Precision Rifle Competition for Beginners -
                           Pew Pew Tactical
12/29/2017   1:44:08 AM    Searched for best off the shelf precision rifle
12/29/2017   1:44:39 AM    Visited Savage Model 12 LRP: Off-The-Shelf Precision –
                           Panhandle Precision
12/29/2017   2:00:45 AM    Searched for remington 700 magpul
12/29/2017   2:01:06 AM    Visited Model 700 Magpul | Remington
12/29/2017   2:03:06 AM    Visited http://www.basspro.com/shop/en/bergara-b-14-hmr-
                           bolt-action-rifle
12/29/2017   2:08:00 AM    Searched for what's needed to get scope mounted on bergara
                           hmr
12/29/2017   2:15:37 AM    Visited https://www.ar15.com/forums/t_16_3/5946_Bergara-
                           B-14-HMR-Range-Report-and-Discussion-
                           Thread.html._goog_?page=2
12/29/2017   2:16:39 AM    Searched for scope mount for bergara hmr
12/29/2017   2:16:45 AM    Visited http://www.bergarausa.com/bergara_b-
                           14_series_hmr_hunting_and_match_rifle.php
12/29/2017   3:20:11 AM    Searched for howa 1500 legacy for sale
12/29/2017   3:20:34 AM    Searched for howa 1500 legacy for sale
12/29/2017   3:20:45 AM    Visited http://www.armslist.com/posts/2333890/maryland-
                           rifles-for-sale--new-legacy-howa-1500-axiom-308-tactical-
                           bolt-rifle
12/29/2017   3:21:14 AM    Searched for howa 1500 legacy for sale
12/29/2017   3:21:22 AM    Searched for howa 1500 legacy for sale
12/29/2017   3:22:40 AM    Searched for howa 1500 legacy for sale bass pro
12/29/2017   3:22:49 AM    Visited http://www.basspro.com/shop/en/guns
12/29/2017   3:36:47 AM    Searched for howa 1500 legacy for sale
12/29/2017   3:39:56 AM    Searched for howa 1500 legacy mcr for sale
12/29/2017   3:40:41 AM    Searched for howa 1500 legacy mcr for sale
12/29/2017   3:41:21 AM    Searched for howa 1500 legacy mcr for sale
12/29/2017   3:41:50 AM    Visited Howa 1500 Hogue Rifle – Legacy Sports
                           International
12/31/2017   1:04:00 AM    Visited accurate mag - short action aics magazine 308
                           winchester - Brownells
12/31/2017   1:04:20 AM    Visited http://www.primaryarms.com/magpul-pmag-10-7-62-
                           ac-aics-short-action-7-62x51nato-black-mag579-blk
12/31/2017   1:05:08 AM    Visited AICS - Accuracy International USA
12/31/2017   1:06:05 AM    Searched for aics magazine 308
12/31/2017   1:06:20 AM    Visited AI 10 Round Magazine .308 – Short Action Precision
1/1/2018     1:19:42 AM    Searched for muzzle devices on military sniper rifle
1/1/2018     1:21:30 AM    Searched for muzzle devices on military sniper rifle
1/1/2018     8:16:58 PM    Searched for 2rd holder for sniper rifle
1/1/2018     8:20:37 PM    Visited SAP Two Round Holder – Short Action Precision
1/1/2018     8:31:57 PM    Visited Long-range sniper rifle DXL-2 “Harasser” | LOBAEV
                           Arms — long ...
1/1/2018     8:34:55 PM    Searched for 2rd holder for sniper rifle
1/1/2018     10:30:37 PM   Searched for sniper rifle case
1/1/2018     10:36:32 PM   Searched for sniper mat
1/1/2018     10:53:03 PM   Searched for sniper log book
1/1/2018     10:53:11 PM   Visited Sniper Central Logbook - Sniper Central
1/1/2018     11:01:46 PM   Visited U.S. Tactical Supply - Sniper Data Books
1/1/2018     11:11:52 PM   Visited Voodoo Tactical 12-8208000000 Voodoo Tactical
                           Sniper ...
1/1/2018     11:12:37 PM   Searched for sniper log book
1/1/2018     11:12:44 PM   Visited Impact Data Books, Inc. - Modular, Premade, Custom
                           Data/Log Books!
1/1/2018     11:16:10 PM   Visited https://triadtactical.com/Data-Books-Covers/
1/2/2018     12:52:03 AM   Searched for sniper central
1/2/2018     12:52:07 AM   Visited Sniper Central - The leader in independent
                           information about sniping.
1/4/2018     1:48:17 AM    Searched for sniper periscope
1/4/2018     1:48:21 AM    Visited SCOUT SNIPER PERISCOPE KIT NSN: 1240-01-
                           571-5004
1/4/2018     1:52:14 AM    Searched for sniper periscope
1/4/2018     1:52:28 AM    Visited SWATSCOPE Surveillance Tool Review - Blue
                           Sheepdog
1/4/2018     1:53:18 AM    Visited 5X20 Airsoft Sniper Tactical Periscope Focusable &
                           Extendable ...
1/4/2018     1:53:46 AM    Searched for sniper periscope
1/4/2018     1:54:08 AM    Searched for handheld periscope
1/4/2018     1:55:45 AM    Visited Swatscope SSVZ-X Tactical Periscope (Camouflage)
                           SSVZ-X B&H
1/4/2018    1:56:07 AM    Visited http://www.spyville.com/spy-periscope.html
1/4/2018    1:57:19 AM    Searched for sniper periscope
1/4/2018    1:57:25 AM    Visited http://www.armslist.com/posts/6902519/cincinnati-
                          ohio-tactical-gear-for-sale--swatscope-scout-sniper-periscope-
1/4/2018    1:58:26 AM    Visited Tan sniper periscope marked DOW – fjm44
1/4/2018    1:59:00 AM    Searched for swatscope
1/4/2018    1:59:19 AM    Visited swatscope.com - Officer
1/4/2018    1:59:47 AM    Visited SWATScope Scout Sniper Periscope | Free Shipping
                          on All Orders
1/4/2018    5:29:58 PM    Searched for sniper rifle
1/4/2018    5:30:14 PM    Visited https://www.youtube.com/watch?v=7qCsvtrMbzI
1/4/2018    5:48:05 PM    Searched for sniper rifle price
1/5/2018    8:42:32 PM    Searched for 6.5 creedmoor for sniping
1/5/2018    8:42:55 PM    Visited Sniper round - The 6.5 Creedmoor Forum
1/5/2018    8:53:08 PM    Visited 6.5 Sniper: Shooting the H-S Precision HTR in 6.5
                          Creedmoor | The ...
1/5/2018    8:56:11 PM    Visited Super Sniper 6.5 Creedmoor - Wilson Combat
1/5/2018    8:56:54 PM    Searched for 6.5 creedmoor for sniping
1/5/2018    8:57:15 PM    Visited 6.5mm Ammo Breakdown: Best 6.5 Calibers for
                          Accuracy & Distance ...
1/5/2018    8:58:27 PM    Searched for 6.5 creedmoor for sniping
1/6/2018    3:20:23 PM    Searched for how to build a remington 700
1/6/2018    3:20:32 PM    Visited Building Your Ultimate Sniper Rifle – Remington
                          700 Upgrade | The ...
1/6/2018    3:21:17 PM    Visited https://ballisticxlr.com/2015/05/31/building-a-
                          remington-700-precision-rifle-on-a-budget/
1/6/2018    3:28:05 PM    Searched for build your own sniper rifle online
1/6/2018    3:28:08 PM    Visited DIY Custom Sniper Rifles - Sniper Central
1/6/2018    5:56:36 PM    Visited https://forum.snipershide.com/forum/sniper%C2%92s
                          -hide%C2%AE-armory-supply/sniper-s-hide-rifle-
                          scopes/222430-i-custom-mounted-my-aci-on-my-20th-
                          anniversary-uso
1/6/2018    5:57:40 PM    Visited https://forum.snipershide.com/forum/sniper%C2%92s
                          -hide%C2%AE-armory-supply/s4-sniper%C2%92s-
                          hide%C2%AE-equipment/95467-cosine-indicator-mount-on-
                          rail-or-scope
1/10/2018   12:17:13 AM   Searched for 50 cal shooting
1/10/2018   12:17:20 AM   Visited Shoot a 50 Cal - Shoot A 50 Caliber Sniper Rifle
1/10/2018   12:17:58 AM   Searched for 50 cal shooting
1/12/2018   11:12:32 PM   Searched for sniper rifles
1/13/2018   1:21:08 AM    Searched for match grade 308 for sale
1/13/2018   1:21:18 AM    Visited 308 Match Ammo Comparison - 168gr - Sniper
                          Central
1/13/2018   1:24:02 AM    Searched for match grade 308 for sale
1/22/2018   10:40:52 PM   Searched for solvent trap
1/22/2018   10:41:18 PM   Visited http://kmtactical.net/accessories/solvent-traps-
                          adapters.html
1/22/2018   10:43:42 PM   Visited Solvent Traps Direct | Solvent Trap Kits, tubes, end
                          caps, thread ...
1/28/2018   8:12:11 PM    Searched for 308 ammo subsonic
1/28/2018   8:12:16 PM    Visited Subsonic Ammo for Silencers - Suppressor
                          Ammunition - Cheaper ...
1/28/2018   8:12:46 PM    Searched for 308 ammo subsonic
1/28/2018   8:12:52 PM    Visited Suppressed 308 with subsonic ammo - YouTube
1/28/2018   8:13:40 PM    Searched for 308 ammo subsonic without suppressor
1/28/2018   8:14:05 PM    Searched for 308 ammo subsonic without suppressor
1/28/2018   8:14:15 PM    Visited .308 WIN Subsonic Ammo Test - YouTube
1/28/2018   8:48:45 PM    Visited 300BLK 7.62x35 220gr Subsonic without Suppressor
                          - YouTube
1/28/2018   8:50:12 PM    Visited Remington 700 SPS in .308 with and without a
                          Kestrel 308 ...
1/28/2018   8:53:12 PM    Searched for kestrel
1/28/2018   8:53:23 PM    Searched for kestrel 308 suppressor
1/28/2018   8:53:31 PM    Visited https://www.silencershop.com/huntertown-kestrel-
                          308.html
1/28/2018   8:44:44 PM    Visited Huntertown Arms Kestrel 308 Reviews?? -
                          AR15.COM
1/28/2018   8:56:48 PM    Visited https://www.silencershop.com/huntertown-kestrel-
                          308.html
1/28/2018   9:04:38 PM    Searched for most accurate 308 ammo
1/28/2018   9:04:54 PM    Visited 308 Match Ammo Comparison - 168gr - Sniper
                          Central
1/28/2018   9:14:12 PM    Searched for hornady match 308 ammo
1/28/2018   9:14:17 PM    Visited https://www.hornady.com/ammunition/rifle/308-win-
                          168-gr-eld-match
2/3/2018    5:33:56 PM    Searched for exploding .308 rounds
2/3/2018    5:34:00 PM    Visited https://www.clarkcustomcartridge.com/product/308-f-
                          u-b-a-r-incendiary-ammo-20rd/
2/3/2018    5:35:31 PM    Searched for fubaru 308
2/3/2018    5:35:54 PM    Searched for 308 explosive rounds
2/3/2018    5:35:56 PM    Searched for 308 explosive rounds
2/3/2018    5:36:04 PM    Visited 7.62x51mm High Explosive Armor Piercing
                          Incendiary Raufoss vs ...
2/3/2018    6:11:23 PM    Searched for 308 match grade ammo
2/4/2018    1:25:17 AM    Searched for api 308 ammo
2/4/2018    1:25:24 AM    Visited .308 API vs AR500 steel - YouTube
2/4/2018    1:38:27 AM    Visited https://www.smammo.com/7-62nato-308win-tracer-
                          and-incendiary/
2/4/2018    1:42:37 AM    Searched for api 308 ammo
2/4/2018    1:42:55 AM    Visited https://xproducts.com/product/50-cal-api-
                          ammunition-50-bmg/
2/4/2018    2:09:12 AM    Visited http://www.therange702.com/blog/shooting-a-50-
                          caliber-sniper-rifle/
2/4/2018    3:56:58 PM    Visited M107 .50 caliber Sniper Rifle - LRSR | Military.com
2/9/2018    10:24:52 PM   Visited https://www.ar15.com/forums/t_16_1/5_Sniper-101-
                          video-series-on-Youtube.html?page=1
2/10/2018   1:05:29 PM    Searched for ballistic calculator
2/10/2018   1:05:59 PM    Visited https://www.federalpremium.com/ballistics_calculato
                          r/
2/10/2018   1:08:30 PM    Visited Ballistic Calculator GunData.org
2/10/2018   1:09:57 PM    Searched for ballistic calculator
2/10/2018   1:11:07 PM    Visited https://play.google.com/store/apps/details?id=it.sinfol
                          ab.moadist&hl=en&referrer=utm_source%3Dgoogle%26utm
                          _medium%3Dorganic%26utm_term%3Dballistic+calculator
                          &pcampaignid=APPU_1_Qu9-WoTlNJDx_Abd8be4CA
2/10/2018   1:18:43 PM    Visited https://play.google.com/store/apps/details?id=com.bor
                          isov.strelokplus&hl=en&referrer=utm_source%3Dgoogle%2
                          6utm_medium%3Dorganic%26utm_term%3Dballistic+calcul
                          ator&pcampaignid=APPU_1_DPF-Wu-FBZHk_Aa99bRI
2/10/2018   1:19:34 PM    Visited https://play.google.com/store/apps/details?id=com.bor
                          isov.strelok&hl=en&referrer=utm_source%3Dgoogle%26utm
                          _medium%3Dorganic%26utm_term%3Dballistic+calculator
                          &pcampaignid=APPU_1_APF-Wt_dEuWFggem8r_wCw
2/10/2018   1:23:53 PM    Visited https://www.federalpremium.com/ballistics_calculato
                          r/
2/10/2018   4:16:55 PM    Visited https://www.usoptics.com/military/sniper/
2/11/2018   12:45:06 AM   Searched for best tactical long range scope
2/11/2018   12:45:35 AM   Visited {TOP 10} Best 1000 Yard Scopes 2019 – Ultimate
                          Rifle Optic Reviews
2/11/2018   4:05:25 PM    Visited Sniping Cartridges - 7mm Remington Magnum -
                          Sniper Central
2/11/2018   4:18:23 PM    Visited HSM 300 Win Mag. 208gr AMAX Match - Sniper
                          Central
2/11/2018   4:19:46 PM    Visited HSM 300 Win Mag. 208gr AMAX Match - Sniper
                          Central
2/11/2018   9:10:54 PM    Searched for max effective range 7mm rem mag
2/11/2018   9:11:59 PM    Visited 7mm Remington Magnum - Terminal Ballistics
                          Research
2/11/2018   9:19:38 PM    Visited Sniping Cartridges - 7mm Remington Magnum -
                          Sniper Central
2/12/2018   10:31:02 PM   Searched for drilling on a rifle barrel
2/12/2018   10:31:41 PM   Searched for threading a rifle barrel for suppressor
2/12/2018   10:31:53 PM   Searched for threading a rifle barrel for suppressor by hand
2/12/2018   10:46:49 PM   Searched for hand threading a rifle barrel for suppressor
2/12/2018   10:46:55 PM   Visited AK-47 - How to thread your barrel! - YouTube
2/13/2018   12:30:38 AM   Visited https://blog.silencershop.com/common-barrel-thread-
                          reference/
2/13/2018   12:31:46 AM   Searched for 5/8 by 24 die
2/13/2018   12:32:12 AM   Searched for 5/8 by 24 die for rifle barrel
2/13/2018   12:32:19 AM   Visited 5/8-24 RH Barrel Threading Kit - CNC Warrior
2/13/2018   12:36:03 AM   Searched for 0.62 Annular Cutter Kit
2/13/2018   12:36:14 AM   Visited 0.62 Annular Cutter Kit - CNC Warrior
2/13/2018   12:37:35 AM   Visited barrel threading tools / drill bits - Carolina Shooters
                          Supply
2/13/2018   10:19:29 PM   Searched for 308 subsonic loads
2/13/2018   10:41:41 PM   Visited Handloading Subsonic .308 WIN Ammo - YouTube
2/13/2018   10:43:52 PM   Visited Atomic Match Ammo 308 Winchester Subsonic 175
                          Grain Sierra ...
2/13/2018   10:57:44 PM   Searched for 308 subsonic loads
2/13/2018   10:57:56 PM   Searched for 308 subsonic ammo
2/13/2018   10:58:02 PM   Visited Subsonic Ammo for Silencers - Suppressor
                          Ammunition - Cheaper ...
2/13/2018   11:16:50 PM   Searched for 308 frangible ammo
2/13/2018   11:17:17 PM   Visited .308 Frangible - Engel Ballistic Research
2/13/2018   11:19:54 PM   Visited https://www.polyfrang.com/308-762-mm-frangible-
                          ammunition/
2/13/2018   11:20:39 PM   Visited FrangibleBullets.Com :: Frangible Non-Lead Bullets
                          [Not Loaded ...
2/13/2018   11:22:47 PM   Visited Frangible .308 ammo | The High Road
2/13/2018   11:23:59 PM   Searched for 308 frangible ammo
2/14/2018   12:57:35 AM   Searched for suppressed 308 bolt action
2/14/2018   12:57:46 AM   Searched for suppressed 308 subsonic
2/14/2018   12:57:49 AM   Visited Suppressed 308 with subsonic ammo - YouTube
2/14/2018   12:58:31 AM   Visited .308 Suppressed Subsonic - YouTube
2/14/2018   1:05:04 AM    Searched for suppressed 308 subsonic
2/14/2018   1:05:14 AM    Visited Use of subsonic ammo | Thunder Beast Arms Forum
2/14/2018   1:06:39 AM    Searched for suppressed 308 subsonic vs coconut
2/14/2018   1:06:45 AM    Visited .22 supersonic vs subsonic suppressed - YouTube
2/14/2018   1:06:56 AM    Visited 308 Suppressed Subsonic vs Supersonic Rounds -
                          YouTube
2/16/2018    1:16:10 AM    Searched for how far can 22lr rifle kill
2/16/2018    1:16:17 AM    Visited How far will a .22 LR Kill? - YouTube
2/16/2018    1:24:17 AM    Searched for suppressed 17 hmr
2/16/2018    1:24:22 AM    Visited Suppressed 17 HMR at 100 Yards - YouTube
2/16/2018    1:30:09 AM    Visited .22 mag or 17HMR - SilencerTalk
2/18/2018    9:08:42 PM    Searched for sniper tactical gear
2/18/2018    9:08:51 PM    Visited Sniper Gear | Ghillie Kits | Extreme Outfitters
2/18/2018    9:10:23 PM    Visited Sniper Reconnaissance | TYR Tactical
2/19/2018    4:47:31 PM    Searched for 7mm rem mag
2/19/2018    4:47:50 PM    Searched for 7mm rem mag sniper rifle for sale
2/20/2018    10:33:31 PM   Searched for lone sniper in shtf
2/20/2018    10:33:36 PM   Visited Sniper Basics For The SHTF Survivalist - Alt-
                           Market.com
2/21/2018    12:23:54 AM   Visited Sniper basics for shtf | NY Gun Forum
2/21/2018    12:29:55 AM   Visited Lessons I Learned In Sniping Weaponry. | My
                           Survival Forum ...
2/21/2018    12:37:51 AM   Searched for lone sniper in shtf
2/21/2018    12:37:54 AM   Visited Blog – SHTF School
12/6/2018    6:07:26 PM    Searched for explosively formed penetrator
12/6/2018    6:07:29 PM    Visited https://en.m.wikipedia.org/wiki/Explosively_formed_
                           penetrator
12/6/2018    6:17:20 PM    Searched for explosively formed penetrator
12/6/2018    6:17:29 PM    Visited Explosively Formed Penetrator - slow motion testing -
                           YouTube
12/6/2018    6:19:17 PM    Visited Shaped Charge - GlobalSecurity.org
12/20/2018   6:25:34 PM    Searched for 50 cal incendiary
12/23/2018   10:53:23 PM   Searched for 50 cal sniper rifle
12/23/2018   10:54:34 PM   Searched for 50 cal sniper rifle
12/23/2018   10:54:42 PM   Searched for 50 cal sniper rifle cheap
1/1/2019     9:47:59 PM    Searched for glock with silencer
1/1/2019     9:48:11 PM    Visited Gun Silencers For Sale Buy Silencer Pistol Rifle
                           Shotgun
1/1/2019     9:51:38 PM    Searched for do pistol silencers need piston
1/1/2019     9:51:53 PM    Visited https://www.silencershop.com/blog/post/mounting-
                           pistolcaliber-suppressors/
1/1/2019     9:53:32 PM    Searched for do glocks need booster for suppressors
1/1/2019     10:05:28 PM   Visited My glock with silencer dont cycle(reload) -
                           SilencerTalk
1/2/2019     11:50:54 PM   Searched for gun cotton for mortar
1/2/2019     11:51:00 PM   Visited Newton 6-inch mortar - Wikipedia
1/2/2019     11:54:47 PM   Visited Cordite - Wikipedia
1/3/2019     12:04:14 AM   Searched for homemade cordite
 1/3/2019      12:04:25 AM     Visited Sciencemadness Discussion Board - Home produced
                               smokeless ...
 1/3/2019      12:05:03 AM     Visited Gun Cotton Homemade Version! - YouTube
 1/3/2019      12:25:52 AM     Visited Gun Cotton Homemade Version! - YouTube
 1/3/2019      11:54:55 PM     Searched for nitrocellulose
 1/3/2019      11:58:29 PM     Visited Sciencemadness Discussion Board - Gun Propellants:
                               Single ...
 1/4/2019      12:04:19 AM     Searched for dissolve guncotton
 1/4/2019      12:04:23 AM     Visited Gun Cotton and Collodion - Scientific American
 1/4/2019      12:09:23 AM     Searched for dissolve guncotton
 1/4/2019      12:09:54 AM     Visited Cordite vs smokeless vs black powder - brief
                               demonstration - Full30
 1/4/2019      9:55:53 PM      Visited 4003 Filter Reverse Assembly - oil fuel filter silencer
                               suppressor ...
 1/4/2019      10:02:57 PM     Visited 4003 Filter Reverse Assembly - oil fuel filter silencer
                               suppressor ...
 1/5/2019      2:43:47 AM      Searched for solvent trap
 1/5/2019      2:44:05 AM      Searched for solvent trap
 1/5/2019      2:44:19 AM      Visited Solvent Trap Adapter – Thread and Oil Filter
                               Adapters
 1/5/2019      2:44:47 AM      Searched for solvent trap
 1/5/2019      2:45:09 AM      Visited Solvent traps? - Practical Machinist
 1/5/2019      2:45:24 AM      Searched for solvent trap
 1/5/2019      2:45:40 AM      Searched for solvent trap
 1/5/2019      1:32:45 PM      Searched for gun cotton recipe
 1/5/2019      1:33:01 PM      Visited Nitrocellulose: 4 Steps
 1/6/2019      12:21:19 AM     Searched for homemade bazooka
 1/6/2019      12:24:07 AM     Searched for homemade bazooka syria
 1/6/2019      12:24:40 AM     Visited http://www.rediff.com/news/report/pix-devastating-
                               homemade-weapons-of-syria/20150312.htm
 1/21/2019     12:35:07 AM     Visited DIY Weapons of the Syrian Rebels - The Atlantic
 1/21/2019     12:38:54 AM     Searched for gun cotton for mortar
 1/21/2019     12:40:39 AM     Visited Gun Cotton - Nitrocellulose - YouTube
 1/21/2019     12:41:28 AM     Visited Newton 6-inch mortar - Wikipedia
 1/21/2019     12:43:00 AM     Searched for gun cotton for mortar
 1/21/2019     12:48:12 AM     Searched for homemade mortar in syria
 1/21/2019     12:50:45 AM     Searched for homemade rocket design syria
 1/21/2019     12:51:34 AM     Searched for homemade rocket design syria

(U) “Russian Eastern Orthodox to Influence”
Date          Activity
5/22/2017     Sent two emails from USCG account to                         with links to the
              Russian Orthodox Church Outside Russia, St. Valdimir's Orthodox Theological
              Seminary, Russian Orthodox Cathedral of St. John
5/22/2017     Emailed a copy of Holy Trinity Orthodox Seminary Catalog for 2014-2016 from
                                    to USCG email account
6/29/2017     Searched for "russian orthodox seminaries usa" and accessed hundreds of URLs
              pertaining to Russian and Eastern Orthodox churches and religions
11/8/2018-    Visited websites The Russian Orthodox Medievalist – A Russian Orthodox
11/15/2018    Journal Against Ecumenism and Globalism, The Orthodox Nationalist Podcast |
              The Russian Orthodox Medievalist
11/16/2018    Observed accessing and reading the following Matthew Raphael Johnson saved
              .pdf documents on his workstation: “Notes on Orthodox Ecclesiology: Created
              Grace and the Mystification of Episcopal Power,” “Russian Nationalism and
              Eurasianism: The Ideology of Russian Regional Power and the Rejection of
              Western Values,” “Judaism in Medieval Novgorod: The Development of the
              Russian Orthodox Church Doctrine on the Jews”




Date         Time (UTC)     Activity
5/29/2017    7:05:04 PM     Searched for conservative russian orthodox church
5/29/2017    7:05:44 PM     Visited The new Putinism: Nationalism fused with
                            conservative Christianity ...
5/29/2017    9:45:30 PM     Searched for orthodox nationalist
5/29/2017    9:56:25 PM     Visited http://www.rusjournal.org/
5/29/2017    9:57:59 PM     Searched for orthodox nationalist
5/29/2017    9:58:26 PM     Visited The Orthodox Nationalist | Christ Conquers
5/29/2017    9:58:52 PM     Visited http://frontierlandstorm.weebly.com/the-
                            orthodox-nationalist.html
5/29/2017    9:59:29 PM    Searched for orthodox nationalist
5/29/2017    9:59:40 PM    Visited http://ironmarch.org/index.php?/topic/5536-fr-
                           matthew-raphael-johnsonthe-orthodox-nationalist/
2/18/2018    1:41:55 PM    Searched for eastern orthodox
2/18/2018    1:42:02 PM    Visited Eastern Orthodox Church - Wikipedia
11/15/2018   3:32:28 PM    Searched for true orthodox church
11/15/2018   3:32:52 PM    Visited Church of the Genuine Orthodox Christians of
                           America | Ἐκκλησία ...
11/15/2018 3:33:20 PM      Visited True Orthodox Polemics - Welcome
11/15/2018 3:34:58 PM      Visited "The Russian True Orthodox Church" - St. Jonah
                           Orthodox Church
11/15/2018   11:38:49 PM   Searched for true orthodox church
11/15/2018   11:38:52 PM   Visited True Orthodoxy - Wikipedia
11/15/2018   11:44:09 PM   Visited Russian True Orthodox Church - OrthodoxWiki
11/15/2018   11:45:10 PM   Visited Russian True Orthodox Church - OrthodoxWiki

(U//FOUO) “Buy a Van”




Date      Activity
5/16/2017 Sent two emails from USCG account to                       address which
          contained links to vans




Date       Time (UTC) Activity
 1/24/2019 6:14:29 PM Searched for used 4x4 diesel sprinter van for sale
                      Visited Used Mercedes-Benz Sprinter 2500 170 V6 High Roof
 1/24/2019 6:14:50 PM Crew Van ...
                      Visited Used Mercedes-Benz Sprinter for Sale (with Photos) -
 1/24/2019 6:17:02 PM CARFAX
                      Visited https://www.commercialtrucktrader.com/4x4-Mercedes-
                      Benz-Sprinter-Cargo-Van-For-Sale/search-
                      results?make=MERCEDES-
                      BENZ%7C748455714&model=SPRINTER%7C764867656&cat
 1/24/2019 6:17:32 PM egory=Cargo%20Van%7C2011732&driveTrain=4x4
                         Visited https://www.rvtrader.com/SPRINTER-Mercedes-Benz-
                         Class-B-RVs/rvs-for-
                         sale?type=class%20b%7C198068&make=Mercedes-
  1/24/2019   6:18:05 PM Benz%7C765325502&model=SPRINTER%7C764955865



(U//FOUO) “Buy Land”




Date          Activity
6/1/2017      Sent four emails to                     which contained links to
              remote properties for sale
7/27/2017     Accessed 37 URLs related to survival properties in Montana, Idaho,
              and Wyoming
8/23/2017-    Navigated hundreds of URLs related to Alaska living
8/31/2017
10/23/2017    Accessed over 30 URLs related to properties in Montana, Idaho, and
              Wyoming
12/19/2017    Searched "land for sale montana" and accessed dozens of URLs and
              property listings
1/8/2018      Searched "ranches for sale" and "living in Oregon" and accessed
              over 100 URLs related to property for sale
1/10/2018     Searched "remote cabins for sale" and accessed at least 25 URLs at
              www.survivalrealty.com
2/2/2018      searched "nc mountain property for sale" and accesssed over 25
              URLs for property
2/8/2018      Searched "alaska remote properties for sale," "remote ak cabins"
2/9/2018      Searched "remote ak properties," "Glenallen ak area land for sale"
3/22/2018     Accessed several URLs at www.survivalrealty.com related to
              property for sale in Montana and Idaho
3/29/2018-    Searched "remote ak cabins for sale" and accessed approximately
3/30/2018     200 URLs related to property for sale in Alaska
3/30/2018     Emailed                        with a link for
              http://www.myalaskahomesteadforsale.com/
 Date         Time (UTC)    Activity
 5/19/2017    9:40:13 PM    Searched for remote land oregon
 5/19/2017    9:40:24 PM    Visited http://www.landwatch.com/Oregon_land_for_sale/Remote
 5/28/2017    8:35:37 PM    Searched for oregon land for sale
 5/28/2017    8:36:17 PM    Visited http://www.landwatch.com/Oregon_land_for_sale
 7/17/2017    10:18:31 PM   Searched for survival realty
 7/17/2017    10:18:34 PM   Visited SurvivalRealty.com: Homestead, Retreat, and Off Grid
                            Marketplace
 4/1/2018     1:03:59 PM    Searched for ak land for sale
 4/1/2018     1:04:17 PM    Visited Subdivision Land for Sale - Alaska Department of Natural
                            Resources
 4/1/2018     1:06:06 PM    Visited Alaska Undeveloped Land for Sale - 206 Listings | Land
                            and Farm
 4/1/2018     1:07:21 PM    Visited Land for sale in Alaska | Page 1 of 63 | Lands of America
 10/24/2018   5:59:34 PM    Searched for utah mt property for sale
 10/24/2018   6:00:59 PM    Searched for utah mountain property for sale
 10/24/2018   6:01:26 PM    Visited Western Land Realty, Inc. -- cabins, recreational property,
                            and more
 10/24/2018   6:37:27 PM    Searched for uintas land for sale
 10/24/2018   6:37:49 PM    Searched for uinta land for sale
 10/24/2018   6:37:56 PM    Visited https://m.landwatch.com/results?t=268,6843;5,76;6,2219
 12/8/2018    1;59:26 AM    Searched for utah land for sale
 12/19/2018   5:26:28 PM    Searched for cheapest land in us
 12/19/2018   5:26:41 PM    Visited United States Land for sale 1,301,204 Listings | LandWatch

(U//FOUO) “Looking to Russia”




 Date           Activity
 6/27/2017      Visited www.pravdareport.com and searched "the fourth political theory,"
                "immigrate to Russia"
6/28/2017      Accessed pro-Russian and neo-Fascist content and searched "dark
               enlightmenment," "national bolshevism," "4th political theory," "old
               russian believers in usa," and "brother nathanael wiki" and emailed
                                       with the following links:
               http://www.zerohedge.com/news/2015-02-08/42-admitted-false-flag-
               attacks, http://arctu7.wixsite.com/ethnosociology,
               https://syncreticstudies.com/, http://www.fort-russ.com/,
               https://www.geopolitica.ru/en/news/chief-isis-abu-bakr-al-baghdadi-killed-
               air-strike, https://openrevolt.info/, https://arktogeja.blogspot.com/,
               http://novorossia.today/
8/21/2017      Searched "russian immigration" and "official russian immigration website"
               and accessed at least 10 .ru URLs
8/21/2017      Searched for "russian immigration" and "official russian immigration
               website"
3/14/2018      Accessed over 150 URLs related to pro-Russian, neo-Fascism, and Russian
               military weapons/tactics content to include: Aleksandr Dugin – Wikipedia,
               Novorossiya (confederation) – Wikipedia, Russian National Socialist Party
               – Wikipedia, All-Russian nation – Wikipedia, http://gunrf.ru; searched
               "russian infantry platoon equipment," "russian platoon organization"
3/19/2018      Searched "4th political theory," and accessed dozens of URLs related to
               pro-Russia and neo-Fascist content at websites to include www.4pt.su,
               www.gov.ru, and hattp://en.wikipedia.org
3/20/2018      Searched "how to immigrate from us to russia" and accessed nearly 100
               URLs with pro-Russia content. Sent two emails to
               with the following links: https://southfront.org, https://slavyangrad.org,
               http://siberiantimes.com/home/
11/8/2018-     Visited Russian Nationalism and Eurasianism: The Ideology of Russian
11/15/2018     Regional Power and the Rejection of Western Values | Center For Syncretic
               Studies, https://eurasianist-archive.com, The Fourth Position and the New
               American Revolution | Center For Syncretic Studies, www.fort-russ.com
11/16/2018     Searched "russian nationalism" and accessed content at Wikipedia related
               to the Black Hundreds ultra-nationalist movement
11/28/2018     Accessed dozens of URLs containing pro-Russian content at www.russia-
               insider.com
12/27/2018     Browsed content at http://englishrussia.com and www.rt.com, searched
               "can you have dual citizenship usa and Russia"
2/13/2019      Searched "russian far east cabin for hermit"




Date         Time (UTC)    Activity
1/31/2017   11:22:55 PM   Searched for russian far right
1/31/2017   11:23:18 PM   Searched for russian nationalist movement
1/31/2017   11:23:50 PM   Searched for 4th political theory
1/31/2017   11:23:57 PM   Visited http://www.4pt.su/
1/31/2017   11:25:49 PM   Visited The Fourth Political Theory - Wikipedia
1/31/2017   11:41:12 PM   Visited http://www.radixjournal.com/journal/2015/1/20/
                          the-errors-of-the-fourth-political-theory
1/31/2017   11:42:58 PM   Searched for russian nationalism
1/31/2017   11:43:54 PM   Searched for russian nationalist
1/31/2017   11:46:19 PM   Searched for russian nationalist movement
1/31/2017   11:46:52 PM   Visited Russian Liberation Movement - Wikipedia
1/31/2017   11:47:09 PM   Searched for russian nationalist movement
1/31/2017   11:47:21 PM   Searched for russian nationalist party
1/31/2017   11:47:43 PM   Visited People's National Party (Russia) - Wikipedia
1/31/2017   11:49:01 PM   Searched for russian right wing
1/31/2017   11:49:09 PM   Searched for russian right wing
1/31/2017   11:49:14 PM   Visited Vladimir Zhirinovsky - Wikipedia
1/31/2017   11:49:32 PM   Searched for russian right wing
1/31/2017   11:50:22 PM   Searched for white rex
1/31/2017   11:50:46 PM   Visited http://white-rex.com/
2/1/2017    12:01:18 AM   Searched for Russian right wing units
2/1/2017    12:01:36 AM   Visited Russian neo-Nazi "Kornilovtsy" battalion
                          operating in Ukraine ...
2/1/2017    12:16:53 AM   Visited Russian neo-Nazi "Kornilovtsy" battalion
                          operating in Ukraine ...
2/21/2017   11:30:12 PM   Searched for future russian small arms
2/23/2017   11:56:43 PM   Searched for Russian nationalist forum
2/23/2017   11:57:05 PM   Visited Russian Nationalist Links Wanted - Stormfront
2/24/2017   12:25:09 AM   Visited Appeal of Russian nationalists to European
                          (white) nationalist (right ...
6/28/2017   9:52:09 PM    Searched for fort russ
6/28/2017   9:52:13 PM    Visited http://www.fort-russ.com/
2/18/2018   7:48:29 PM    Searched for pravda ru
2/18/2018   7:48:34 PM    Visited Правда.Ру: Новости и аналитика
3/17/2018   1:08:22 AM    Searched for russian nationalism
3/17/2018   1:08:49 AM    Visited Russian Nationalism 101, by Anatoly Karlin -
                          The Unz Review
3/17/2018   1:11:33 AM    Searched for russian nationalism
3/17/2018   1:11:50 AM    Searched for modern russian nationalism
3/17/2018   1:16:00 AM    Searched for modern russian nationalism
3/17/2018   1:16:10 AM    Searched for modern russian nationalists
3/17/2018    1:16:32 AM    Searched for modern russian nationalists website
3/17/2018    1:16:36 AM    Visited The return of Russian nationalism | Financial
                           Times
3/17/2018    1:16:57 AM    Searched for modern russian nationalists website
3/17/2018    1:17:11 AM    Visited http://www.geopolitika.lt/?artc=4593
3/17/2018    1:17:24 AM    Searched for modern russian nationalists website
3/17/2018    1:17:37 AM    Searched for modern russian nationalists groups
3/17/2018    1:17:40 AM    Visited Russian nationalism - Wikipedia
3/21/2018    1:37:20 PM    Searched for us to russia immigration
3/21/2018    1:37:44 PM    Searched for us to russia immigration
3/21/2018    1:38:42 PM    Searched for us to russia immigration
3/21/2018    1:39:01 PM    Searched for moving to usa from russia
3/21/2018    1:39:30 PM    Visited Why are more Americans Moving to Russia? -
                           Fort Russ
3/21/2018    2:01:18 PM    Searched for immigration to russia from usa
3/21/2018    2:01:30 PM    Visited Russian Immigration Laws - Way to Russia
                           Guide
3/21/2018    2:02:26 PM    Searched for average wage in russia
3/21/2018    2:03:31 PM    Visited http://blogs.elenasmodels.com/en/average-
                           monthly-income-russia-wages-rosstat/
3/21/2018    2:07:38 PM    Visited How much is Russian median income? What
                           life standard does a ...
3/21/2018    5:29:51 PM    Searched for pravda ru
3/21/2018    5:29:58 PM    Visited PravdaReport: News and analytical materials
3/25/2018    9:43:01 PM    Searched for can you own firearms in russia
3/25/2018    9:43:25 PM    Visited Firearms-Control Legislation and Policy:
                           Russian Federation | Law ...
11/13/2018   10:53:56 PM   Searched for rusjournal
11/13/2018   10:55:02 PM   Visited https://www.rusjournal.org/
11/14/2018   7:28:12 PM    Searched for sputnik news
11/14/2018   7:28:18 PM    Visited Sputnik International - Breaking News &
                           Analysis - Radio, Photos ...
11/14/2018 7:28:23 PM      Visited Sputnik International - Breaking News &
                           Analysis - Radio, Photos ...
11/14/2018 11:14:33 PM     Searched for sputnik news
11/14/2018 11:14:51 PM     Visited Sputnik International - Breaking News &
                           Analysis - Radio, Photos ...
11/14/2018   11:35:13 PM   Searched for rt news
11/30/2018   12:05:32 AM   Searched for rt news
11/30/2018   12:05:39 AM   Visited World news — RT International - RT.com
12/28/2018   4:31:07 PM    Searched for apply for russian visa
 1/21/2019    1:07:36 AM    Searched for rt news
 1/21/2019    1:07:48 AM    Visited World news — RT International - RT.com

(U//FOUO) “Come off Tramadol”




 Date         Time (UTC)    Activity
 7/12/2017    10:33:50 PM   Visited http://prescription-drug.addictionblog.org/how-long-
                            does-tramadol-withdrawal-last/
 7/12/2017    10:41:24 PM   Visited http://americanaddictioncenters.org/withdrawal-
                            timelines-treatments/tramadol/
 7/12/2017    10:44:21 PM   Visited Im addicted to tramadol | Tramadol | Brain and nerves |
                            Community ...
 7/12/2017    10:49:50 PM   Visited http://prescription-drug.addictionblog.org/how-to-stop-
                            taking-tramadol/

 7/12/2017    10:49:59 PM   Searched for How long does it take to get off tramadol?
 7/12/2017    10:50:21 PM   Searched for easiest taper off tramadol
 7/12/2017    10:50:25 PM   Visited Does anyone have a good tapering schedule for
                            tramadol?
 11/30/2017   3:02:04 PM    Searched for how to come off tramadol
 11/30/2017   3:02:21 PM    Visited How To Stop Tramadol Without Withdrawal
                            Symptoms? - The ...
 7/20/2018    6:05:14 PM    Searched for using magic mushrooms for addiction
 7/20/2018    6:05:28 PM    Visited https://motherboard.vice.com/amp/en_us/article/bmvdn
                            m/how-psychedelic-drugs-psilocybin-lsd-could-help-treat-
                            addiction
 7/20/2018    6:06:35 PM    Visited 'Magic Mushrooms' Show Promise in Treating
                            Addiction, Cancer ...

(U//FOUO) “Stockpile Five Locations”
 Date           Activity
 3/17/2017-     Sent over 40 emails from USCG email account to
 3/24/2017      containing links to websites selling tactical and military-style equipment
 5/31/2017      Emailed the link https://rampartcorp.com/ to                          (ammunition
                and tactical gear)
 1/30/2018      Accessed dozens of URLs related to rifle scopes, accessories, and ammunition at
                www.amazon.com
 2/12/2018      Accessed dozens of URLs related to firearms and survival equipment.
 2/13/2018      Accessed hundreds of URLs related to firearms, scopes, long range shooting, and
                survival equipment, searched "emergeny food," "mre," and "us army tent"
 2/14/2018      Accessed URLs related to survival equipment
 2/15/2018      Accessed URLS related to surivial gear, searched "best backpacking survival
                food," "reloading supplies"
 2/21/2018      Searched for "best 30 day supply food," accessed 20 URLs at
                www.mypatriotsupply.com and sent an email to
                https://www.mypatriotsupply.com/ShoppingCart.asp
 3/7/2018       Accessed dozens of URLs related to survival and tactical gear
 3/20/2018      Accessed dozens of URLs related to survival and tactical gear to include: Meat &
                Protein Emergency Survival Food | My Patriot Supply and searched "long term
                food storage," "eric rudolph in forest," and "bunkers for sale"




 Date         Time (UTC)    Activity
 7/31/2017    9:08:56 PM    Searched for long term food storage
 7/31/2017    9:09:44 PM    Visited https://beprepared.com/food-storage.html
 3/18/2018    4:23:36 PM    Searched for emergency food
 3/18/2018    4:23:45 PM    Visited https://wisefoodstorage.com/emergency-food-
                            kits-supplies/grab-and-go-food-kits.html
 3/18/2018 4:24:54 PM       Visited https://www.augasonfarms.com/food-supply-kits
 3/18/2018 4:35:01 PM       Searched for emergency food

(U//FOUO) “Learn Basic Chemistry”




 Date         Time (UTC) Activity
 5/29/2017   1:59:29 PM   Searched for hexamine
 5/29/2017   1:59:43 PM   Visited Hexamine fuel tablet - Wikipedia
 5/29/2017   2:00:16 PM   Visited https://www.amazon.com/dp/B00JGDUXSQ
 5/29/2017   2:01:31 PM   Visited Hexamine | C6H12N4 | ChemSpider
 5/29/2017   2:02:00 PM   Searched for hmtd
 5/29/2017   2:02:08 PM   Visited Hexamethylene triperoxide diamine - Wikipedia
 5/29/2017 2:03:54 PM     Searched for tatp and hmtd
 5/29/2017 2:04:07 PM     Visited Decreasing the Friction Sensitivity of TATP, DADP and
                          HMTD ...
 5/29/2017 2:04:33 PM     Searched for tatp and anfo
 5/29/2017 2:04:58 PM     Visited http://onlinelibrary.wiley.com/doi/10.1002/prep.200700230/
                          pdf
 5/29/2017 2:06:02 PM     Visited Sciencemadness Discussion Board - Anfo detonator -
                          Powered by ...
 5/29/2017 2:11:01 PM     Searched for ddnp synthesis
 5/29/2017 2:33:02 PM     Visited DDNP

(U//FOUO) “Look at Individual Targets”




 Date       Activity
 2/1/2017   Typed george soros lives where in USCG workstation
 2/2/2017   Typed most influential university proffessors into USCG workstation
 2/2/2017   Typed most liberal colleges in usa into USCG workstation
 2/2/2017   Typed womens march into USCG workstation
 1/31/2018  Searched "democratic socialists of America," accessed four URLs, and
            searched "christine riddiough" and "ravi ahmad"
 2/16/2018 Searched "jews in us gov," "list of rabbis by state"
 2/26/2018 Searched "most liberal senators," "where do senators live in dc," "do
            senators have ss protection," "are supreme court justices protected,"
            accessed the following webpages: Where do U.S. Senators live? | Quora,
            Which current U.S. senator is the wealthiest? | Quora, Members have
            24-hour protection at Capitol but home is a different story | TheHill
 12/27/2018 Searched "joe scarborough," "where is morning joe filmed," "new
            canaan ct," conducted a Google map search fo
                         Scarborough's residence
1/17/2019    Opened his financial spreadsheet and compiled a list of prominent
             Democratic Congressional leaders, activists, political organizations, and
             MSNBC and CNN media personalities (JOEY, Chris hayes, Sen
             blumen jew, pelosi, sen kaine, ari melber, schumer, don lemon,
             gillabran/poca warren/cortez, booker/harris/beto orourke, maxine waters,
             sheila jackson, iihan omar, chris cuomo, angela davis, DSA, Van Jones),
             also searched "best place in dc to see congress people," "where in dc to
             congress live," "social democrats usa"




Date         Time (UTC)      Activity
2/15/2017    9:20:34 AM      Searched for destruction of washington dc
5/29/2017    12:47:38 PM     Searched for how to bring down the system
5/29/2017    12:48:40 PM     Searched for how to bring down the us government
5/29/2017    1:22:28 PM      Searched for most liberal professors in the us
5/29/2017    1:22:58 PM      Visited http://www.washingtontimes.com/news/2016/oct/6/lib
                             eral-professors-outnumber-conservatives-12-1/
5/29/2017    1:23:23 PM      Visited Opinion | There Are Conservative Professors. Just Not
                             in These States.
5/29/2017    1:24:19 PM      Searched for most liberal professors in the usa are
5/29/2017    1:24:49 PM      Searched for liberal professors watch list
5/29/2017    1:24:52 PM      Visited http://www.professorwatchlist.org/
12/16/2017   12:39:55 PM     Searched for joe scarborough
2/17/2018    12:34:04 PM     Searched for how can white people rise against the jews
2/17/2018    12:36:35 PM     Searched for how can white people rise against the jews
2/17/2018    12:37:12 PM     Searched for how can white people rise
2/17/2018    12:37:16 PM     Visited What's Going on With America's White People? -
                             POLITICO Magazine
2/17/2018    12:38:25 PM     Searched for how can white people rise
2/17/2018    12:38:56 PM     Searched for how can white people rise
2/17/2018    12:39:52 PM     Searched for how can white people rise
2/17/2018    1:18:51 PM      Searched for how to rid the us of jews
2/17/2018    1:18:59 PM      Visited "We have a problem in this country. It's called [Jews].
                             When can we ...
2/17/2018    1:24:17 PM      Searched for jews enemy of the world
2/18/2018    1:04:44 AM      Visited sniper rifles - Remington Military
2/18/2018    1:13:57 AM      Visited https://www.snipershide.com/m24-sniper-weapons-
                             system/
 3/1/2018     10:41:29 PM   Searched for where do senators live
 3/1/2018     10:41:45 PM   Searched for where do senators live in dc
 3/1/2018     10:43:04 PM   Searched for how often are senators in dc
 3/1/2018     10:43:27 PM   Visited Where do Congressmen and Senators live when they
                            are in DC ...
 3/3/2018     8:43:16 PM    Searched for maxine waters dc
 3/3/2018     8:44:25 PM    Searched for how do senators and congressman get around dc
 3/3/2018     8:47:50 PM    Searched for how do senators and congressman get around dc
 3/3/2018     8:48:03 PM    Searched for how do senators and congressman get around dc
                            private subway
 3/3/2018     8:48:16 PM    Visited United States Capitol subway system - Wikipedia
 3/13/2018    9:55:04 PM    Searched for where does justice kagan live
 3/13/2018    9:55:10 PM    Visited Lawyerly Lairs: Justice Kagan Goes House Hunting |
                            Above the Law
 3/13/2018    9:59:36 PM    Visited Elena Kagan | Oyez
 3/13/2018    10:01:32 PM   Visited http://supreme-court-
                            justices.insidegov.com/l/112/Elena-Kagan
 3/13/2018    10:01:44 PM   Visited Elena Kagan spotted dining with a friend in D.C. - The
                            Washington ...
 3/13/2018    10:02:25 PM   Searched for logan circle
 3/13/2018    10:04:16 PM   Searched for Sonia Sotomayor
 3/13/2018    10:04:27 PM   Visited https://en.m.wikipedia.org/wiki/Sonia_Sotomayor
 3/13/2018    10:07:45 PM   Searched for where does Sonia Sotomayor live
 3/13/2018    10:07:59 PM   Visited Along the U Street corridor, her honor finds all the
                            comforts of home ...
 3/16/2018    9:14:50 PM    Searched for best nigger
 3/16/2018    9:15:02 PM    Visited When White Men Keep Lists of “No-Good Niggers” -
                            The Intercept
 3/16/2018    9:16:37 PM    Visited I Slapped A Crying Child And Called Him A Nigger
                            And I'm The Bad ...
 3/16/2018    9:17:45 PM    Searched for best nigger killing gun

(U//FOUO) “Ukrainian Civil War Tactics”




 Date        Activity
 1/31/2017 Searched "russian right," "russian nat," "russien
           volunteers"
 2/9/2017 Typed ukrainian volunteers into USCG workstation




 Date         Time (UTC)      Activity
 2/1/2017     12:19:08 AM     Searched for imperial legion
 2/1/2017     12:19:23 AM     Searched for imperial legion russia
 2/1/2017     12:19:35 AM     Visited http://www.rferl.org/a/russia-ukraine-
                              volunteers-kremlin-easy-to-fight-/26828559.html
 6/28/2017 9:27:24 PM         Searched for novorossiya
 6/28/2017 9:27:38 PM         Visited Novorossiya (confederation) - Wikipedia
 6/28/2017 9:33:59 PM         Searched for Novorossiya

(U//FOUO) “Incite Violence”




 Date       Time (UTC)           Activity
 11/30/2017 10:09:41 PM          Searched for race war
 11/30/2017 10:10:09 PM          Visited This Homeland Security Employee Is
                                 Preparing for a Coming Race ...
 11/30/2017   10:17:35 PM        Searched for race war
 11/30/2017   10:17:57 PM        Searched for please god let there be a race war
 11/30/2017   10:19:40 PM        Searched for please god let there be a race war
 1/11/2018    12:42:43 PM        Searched for manual of the urban guerrilla
 1/11/2018    12:43:16 PM        Searched for minimanual of the urban guerrilla
                                 pdf
 1/11/2018    12:43:20 PM        Visited Mini-Manual Of The Urban Guerilla
                                 (English) - Social History Portal
 1/11/2018    12:43:26 PM        Visited Mini-Manual Of The Urban Guerilla
                                 (English) - Social History Portal

(U//FOUO) “Thermite”
Date      Time (UTC) Activity
5/27/2017 6:09:20 PM Visited https://uscrow.org/2013/04/10/how-to-make-
                     thermite-grenades-for-vehicle-and-equipment-disabling/

5/27/2017 7:04:20 PM     Searched for homemade thermal paste
5/27/2017 7:04:34 PM     Visited Alternative to thermal paste... watch this!!! -
                         YouTube
5/27/2017 7:05:16 PM     Searched for homemade thermite paste
5/27/2017 7:05:39 PM     Visited http://www.dailymail.co.uk/sciencetech/article-
                         3519376/Definitely-don-t-try-home-YouTube-star-
                         makes-homemade-thermite-cannon-launch-white-hot-
                         grenades-targets.html

5/27/2017   7:07:27 PM   Searched for homemade thermite
5/27/2017   7:13:19 PM   Searched for first fire mix
5/27/2017   7:13:37 PM   Visited THERMITE: This formula - Textfiles
5/27/2017   7:16:28 PM   Visited http://www.instructables.com/community/alternat
                         ive-ignition-of-thermite/
5/27/2017 7:21:05 PM     Visited https://www.crossfader.fm/mixes/first-fire-mix/
